          Case 2:25-mj-01415-JFM   Document 1   Filed 03/26/25   Page 1 of 7
                       UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA
                                          Date of Arrest: March 24, 2025

UNITED STATES OF AMERICA              ) Magistrate’s Case No. 25-01415MJ
            Plaintiff,                )
                                      ) COMPLAINT FOR VIOLATION OF
               Vs.                    ) Title 8, United States Code,
                                      ) Sections 1324 (a)(1)(v)(I),
Benjamin LOPEZ-Barron                 ) (a)(1)(A)(ii), (a)(1)(B)(i),
YOB: 2000                             ) Conspiracy to Transport of
Citizen of United States              ) Illegal Aliens
                                      ) Count One
                                      )
                                      )

   I, the undersigned complainant, being duly sworn, state that the
following is true and correct to the best of my knowledge and belief:

                                    COUNT ONE

   On or about March 24, 2025, within the District of Arizona,
Defendant Benjamin LOPEZ-Barron, did knowingly and willfully combine,
conspire, confederate, and agree with persons known and unknown, to
transport and move within the United States aliens who had come to,
entered, and remained in the United States in violation of law, by
means of transportation and otherwise, and in furtherance of such
violation of law, in violation of Title 8, United States Code, Section
1324(a)(1)(A)(ii).
   All in violation of Title 8, United States Code, Sections
1324(a)(1)(v)(I) and 1324(a)(1)(B)(i), (Conspiracy to Transport an
Illegal Alien).


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           Case 2:25-mj-01415-JFM   Document 1   Filed 03/26/25   Page 2 of 7



The complainant states that this complaint is based on the attached
Statement of Facts incorporated herein by reference.

  Authorized by: AUSA Ross Arellano Edwards

  ROSS     Digitally signed by
           ROSS ARELLANO
  ARELLANO EDWARDS
           Date: 2025.03.25
  EDWARDS 19:43:08 -07'00'          George Sosa Jr
                                    Border Patrol Agent
                                    United States Border Patrol




    Sworn and subscribed to by telephone, March 26, 2025, at Yuma,
  Arizona.



                                     The Honorable James F. Metcalf
                                     United States Magistrate Judge
      Case 2:25-mj-01415-JFM   Document 1   Filed 03/26/25   Page 3 of 7



                      UNITED STATES OF AMERICA
                                  v.
                        Benjamin LOPEZ-Barron


                          Statement of Facts

  I, George Sosa Jr, being duly sworn, do state the following:

 1. YUMA, YUMA COUNTY, ARIZONA.
 Near County 13th Street and 6E Yuma, Arizona.

 2. UNDERLYING FACTS.

    On March 24, 2025, Border Patrol Joshua Harper was
conducting line operation duties in the Andrade, California.
Yuma Border Patrol Station area of responsibility (AOR).

    At approximately 1434 hours, Yuma Sector Camera Operators
(854C) advised they had visual of two subjects near an area
known as County 12 7/8, approximately 128 yards east of the
United States and Mexico International Boundary Line. Yuma
Sector Camera Operators further advised the subjects were
running east and had jumped in the West Main Canal and boarded
into a dark colored sedan. Agents responded at County 12 7/8
and confirmed fresh foot sign leading from the desert
environment between the International Boundary Line and County
12 7/8.

    At approximately 1445 hours, BPA J. Harper arrived at Yuma,
Arizona, and began driving the nearby county roads attempting
to locate the described vehicle. Yuma Sector Camera Operators
advised having completed a video replay of the suspected load-
up vehicle and confirmed to be a gray Dodge Charger that had
driven east at a high rate of speed, causing a large amount of
dust, on the agricultural roads that are directly next to county
12 7/8. BPA J. Harper began looking for vehicles that matched
the description given by 854C. Using the information provided,
BPA J. Harper knew the load vehicle would be covered with fresh
dirt and possibly mud from the agricultural fields.

    At approximately 1500 hours, as BPA J. Harper drove north
of Avenue D, he observed a gray Dodge Charger, covered with what
appeared to be a fresh layer of dirt completely covering the
vehicle, approximately 3 miles from the area of the load-up
location. Due to the matching vehicle description BPA J. Harper
attempt to run a vehicle records check. The Charger then
accelerated rapidly, driving into oncoming traffic, and
      Case 2:25-mj-01415-JFM   Document 1   Filed 03/26/25   Page 4 of 7


fishtailed the rear end of the vehicle as he drove through the
four-way stop sign at County 11 and Avenue D. BPA J. Harper
immediately began driving south on Avenue D attempting to
relocate the Charger. Due to large dirt cloud caused by the
Charger's reckless driving and BPA J. Harper was unable to
determine the direction of travel. Agents in the area were
notified via service radio. At approximately 1520 hours, BPA J.
Harper spotted a gray Dodge Charger matching the description of
the vehicle that evaded detection earlier on Avenue D. BPA J.
Harper made the eastbound turn onto County 15 and began catching
up to the Charger.

    At approximately 1523 hours, BPAs J. Harper observed the
Charger driving recklessly running through red lights and
driving over 100 miles per hour through Avenue 3E and County 15
and turned right onto Couty 14. At this time Border Patrol Agent
Edel Sevilano saw BPA Harper’s marked Border Patrol vehicle in
pursuit of the vehicle and joined the pursuit.

    At approximately 1526 hours, the Charger drove north on
Avenue 6E from County 14, once again reaching speeds at or above
100 miles per hour. As the Charger passed County 13, the Charger
begin to slow down and park on the northbound shoulder. Agents
advised Yuma Sector Radio Communication they were initiating a
high-risk vehicle stop. BPA J. Harper and BPA E. Sevillano
exited their vehicles and began giving verbal commands to the
occupants. BPA E. Sevillano instructed the driver to exit and
face away from him. BPA J. Harper placed the driver, later
identified as Benjamin LOPEZ-Barron, in handcuffs and placed
him in the back of BPA E. Sevillano's marked vehicle. BPA J.
Harper then gave verbal commands to the front passenger, later
identified as Alinna MARQUEZ-Sanchez and placed her in handcuffs
and into the back of BPA J. Haper’s marked vehicle.

    At approximately 1559 hours, BPA E. Sevillano transported
LOPEZ while BPA J. Harper transported MARQUEZ to the Yuma Border
Patrol Station for further questioning and processing.

Phone belonging to LOPEZ was seized as evidence for 8 USC
1324.



 3. DEFENDANT’S STATEMENTS


   A. DEFENDANT Benjamin LOPEZ-Barron (United States Citizen)

   On March 24, 2025, at approximately 1854 hours, Supervisory
     Case 2:25-mj-01415-JFM   Document 1   Filed 03/26/25   Page 5 of 7


Border Patrol- Intelligence Eugenio Sardinas and Border Patrol
Agent-Intelligence (BPA-I) Edgar Melendez, conducted a sworn
statement on LOPEZ, Benjamin, regarding his human smuggling
event resulting in an 8 U.S.C 1324 conspiracy case, of the
United States vs. LOPEZ.

   The following is a written synopsis of the audio and video
recorded sworn statement taken at the Yuma, Arizona Border
Patrol Station while utilizing a CBP approved recording
device. LOPEZ was advised of his Miranda Rights at
approximately 1855 hours, LOPEZ stated that he was willing to
provide a statement without the presence of a lawyer.

   ASU agent Melendez asked LOPEZ to give him a summary on the
events of that day. LOPEZ stated that he was contacted by a
Mexican phone number and said that the guy that called him
spoke English. LOPEZ claimed that he could not do it because
he did not have a car at that time. Later, he was able to get
his mom's vehicle to use perform the job the man was offering.

   ASU Melendez asked LOPEZ what the job he needed to do?
LOPEZ stated that he was going to give a ride to three people
but said that it ended up being only two people. LOPEZ claims
that he did not know the subjects were illegal, but the job
was to pick the subjects near the United States/Mexico border
boundaries. LOPEZ stated that the two subjects walked over
the border and that they were already on the U.S. side when he
saw the two subjects. LOPEZ drove to a field that was
approximately a mile away from the US/Mexico border. LOPEZ
stated that the two subjects got inside of his vehicle and
loaded up. LOPEZ claims that when the subjects got into his
vehicle, the guy from Mexico was calling the shots and another
subject by the moniker of "NK" (Later identified through
previous encounters as Nickolas Baldriche) was in contact with
LOPEZ. LOPEZ stated that "NK" was instructing him via phone
to meet up with a red car. LOPEZ said that he was communicating
with "NK" through Instagram calls.

   ASU agent Sardinas and Melendez asked LOPEZ who put "NK" in
contact with him, LOPEZ stated that it was "Alex," a guy that
drives a white car. LOPEZ claims that he doesn't know if who
he talked to was "Alex" or "NK." LOPEZ admitted that he has
seen "Alex" in person, ASU agent Melendez provided LOPEZ with
a photo lineup picture known as six pack. LOPEZ was able to
identify subject number six as "Alex," who has been identified
as Alex Esparza Sanchez a human smuggling coordinator.

   LOPEZ claims that "Alex" initially put him in contact with
other people to engage in human smuggling activities. LOPEZ
      Case 2:25-mj-01415-JFM   Document 1   Filed 03/26/25   Page 6 of 7


stated that "NK" and "Alex" hang out together and claimed that
"NK" works for "Alex." A photo lineup known as a six pack was
presented to LOPEZ to see if he could identify "NK." LOPEZ
was able to identify subject number two as "NK," subject number
two was a photo of Nickolas BALDRICHE. LOPEZ knew his name as
"Nickolas" and admitted that he helps "Alex" do human smuggling
activities.

   LOPEZ stated that he was going to get paid $500 US dollars
per person for the smuggling load and added that he was
expecting 3-4 subjects instead of two. Agents asked LOPEZ who
was going to pay him for the smuggling event and he stated
that most likely “Alex”.

  LOPEZ granted ASU agent Sardinas and Melendez consent to his
cellphone and signed a written consent form. Agents asked
about several conversations on WhatsApp which appeared to be
regarding human smuggling. ASU agent Dioses performed a
preliminary analysis of the cellphone and found a video taken
during the smuggling event.

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 4. AFFIRMATION.

 To the best of my knowledge and belief, the following is a
list of all Border Patrol law enforcement personnel present
during interviews, statements, and questioning of the
Defendant, from initial contact through the writing of this
document: BPAs John Law, Lee E. Dioses, Edgar Melendez-Diaz,
Eugenio Sardinas.

 To the best of my knowledge and belief, the following is a
list of all Border Patrol law enforcement personnel not
already mentioned above who were present and/or took part in
other parts of this investigation (e.g., arrest, search,
      Case 2:25-mj-01415-JFM   Document 1   Filed 03/26/25   Page 7 of 7


seizure, proactive investigation, surveillance, etc.) from
initial field contact through the writing of this document:
BPAs Joshua Harper, Edel Sevillano.

 Based on the foregoing, there is probable cause to believe
that committed the offense as alleged in the attached
complaint.


                                 George Sosa Jr
                                 Border Patrol Agent
                                 United States Border Patrol


Sworn by telephone, March 26, 2025, at Yuma, Arizona.



                                The Honorable James F. Metcalf
                                United States Magistrate Judge
